Filing # 102831099 E-Filed 02/05/2020 08:35:13 PM

  FORM 1.997. CIVIL COVER SHEET

  The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of
  pleadings or other documents as required by law. This form must be filed by the plaintiff or petitioner with the
  Clerk of Court for the purpose of reporting data pursuant to section 25.075, Florida Statutes. (See instructions
  for completion.)


       I.           CASE STYLE
                                        IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT,
                                        IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

                                                                          Case No.: _________________
                                                                          Judge: ____________________
  Debrynna Garrett, Clifford Jeury
   Plaintiff
                   vs.
  Facebook, Inc., Cognizant Business Services Corporation
  Defendant



       II.          AMOUNT OF CLAIM
                    Please indicate the estimated amount of the claim rounded to the nearest dollar $30,000

       III.         TYPE OF CASE        (If the case fits more than one type of case, select the most definitive category.) If the
                    most descriptive label is a subcategory (is indented under a broader category), place an x on both the main
                    category and subcategory lines.

                                                                                  ☐     Malpractice – other professional
               ☐ Condominium                                                    ☐ Other
               ☐ Contracts and indebtedness                                       ☐     Antitrust/Trade Regulation
               ☐ Eminent domain                                                   ☐     Business Transaction
               ☐ Auto negligence                                                  ☐     Circuit Civil - Not Applicable
               ☒ Negligence – other                                               ☐     Constitutional challenge-statute or ordinance
                 ☐    Business governance                                         ☐     Constitutional challenge-proposed amendment
                 ☒    Business torts                                              ☐     Corporate Trusts
                 ☐    Environmental/Toxic tort                                    ☐     Discrimination-employment or other
                 ☐    Third party indemnification                                 ☐     Insurance claims
                 ☐    Construction defect                                         ☐     Intellectual property
                 ☐    Mass tort                                                   ☐     Libel/Slander
                 ☐    Negligent security                                          ☐     Shareholder derivative action
                 ☐    Nursing home negligence                                     ☐     Securities litigation
                 ☐    Premises liability – commercial                             ☐     Trade secrets
                 ☐    Premises liability – residential                            ☐     Trust litigation
               ☐ Products liability
               ☐ Real Property/Mortgage foreclosure                             ☐ County Civil
                 ☐    Commercial foreclosure                                     ☐     Small Claims up to $8,000
                 ☐    Homestead residential foreclosure                          ☐     Civil
                 ☐    Non-homestead residential foreclosure                      ☐     Replevins
                 ☐    Other real property actions                                ☐     Evictions
               ☐ Professional malpractice                                        ☐     Other civil (non-monetary)
                 ☐    Malpractice – business
                 ☐    Malpractice – medical
                                                   COMPLEX BUSINESS COURT

            This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
            Administrative Order. Yes ☒ No ☐


    IV.        REMEDIES SOUGHT (check all that apply):
               ☒ Monetary;
               ☒ Non-monetary declaratory or injunctive relief;
               ☐ Punitive

    V.         NUMBER OF CAUSES OF ACTION:
                 (Specify)


               4

    VI.        IS THIS CASE A CLASS ACTION LAWSUIT?
                ☒ Yes
                ☐ No

    VII.       HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
               ☒ No
               ☐ Yes – If “yes” list all related cases by name, case number and court:




    VIII.      IS JURY TRIAL DEMANDED IN COMPLAINT?
                ☒ Yes
                ☐ No



I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that I have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature:      s/ Jay P Lechner
          Attorney or party
FL Bar No.: 504351
          (Bar number, if attorney)
                Jay P Lechner
               (Type or print name)
     Date:      02/05/2020
   Filing # 102831099 E-Filed 02/05/2020 08:35:13 PM


                     IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                             IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                       CIRCUIT CIVIL DIVISION

             DEBRYNNA GARRETT and CLIFFORD
             JEURY, individually and on behalf of all
             others similarly situated,

                            Plaintiffs,

             v.                                                            Case No.:

             FACEBOOK, INC., and COGNIZANT
             BUSINESS SERVICES CORPORATION,

                         Defendants.
             ______________________________________/

                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

                    Plaintiffs DEBRYNNA GARRETT and CLIFFORD JEURY (“Plaintiffs”) hereby sue the

             Defendants, FACEBOOK, INC. (“Facebook”), and COGNIZANT BUSINESS SERVICES

             CORPORATION (“Cognizant”) (collectively, “Defendants”) to protect themselves and all others

             similarly situated from the dangers of psychological trauma resulting from Defendants’ failure to

             provide a safe workplace for the thousands of “content moderators” who are entrusted to provide

             the safest environment possible for Facebook users.

                                                      BACKGROUND

                    1.      Every day, Facebook users post millions of videos, images, and livestreamed

             broadcasts of child sexual abuse, rape, torture, bestiality, beheadings, suicide, racist violence and

             murder. To maintain a sanitized platform, maximize its already vast profits, and cultivate its public

             image, Facebook relies on people like Plaintiffs – known as “content moderators” – to view those

             posts and remove any that violate the corporation’s terms of use.

                    2.      From their cubicles during the overnight shift in Cognizant’s Tampa offices,



                                                      · LECHNER LAW ·



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             Plaintiffs witnessed thousands of acts of extreme and graphic violence. As another Facebook

             content moderator recently told the Guardian, “You’d go into work …, turn on your computer and

             watch someone have their head cut off. Every day, every minute, that’s what you see. Heads being

             cut off.”

                     3.     As a result of constant and unmitigated exposure to highly toxic and extremely

             disturbing images through Facebook’s content review systems, Plaintiffs and other class members

             developed and suffer from significant psychological trauma and/or post-traumatic stress disorder

             (“PTSD”).

                     4.     In an effort to cultivate its image, Facebook helped draft workplace safety standards

             to protect content moderators like Plaintiffs and the proposed class from workplace trauma and

             associated adverse consequences, which include pre-hiring psychological screening; providing

             moderators with robust and mandatory counseling and mental health support; altering the

             resolution, audio, size, and color of trauma-inducing images; and training moderators to recognize

             the physical and psychological symptoms of PTSD.

                     5.     Other recommended safety standards include: having content moderators work in

             pairs or teams rather than alone; improving working conditions by not focusing solely on

             efficiency and productivity; and providing additional breaks or “wellness time” during periods of

             extraordinary stress. In addition, Cognizant employees requested to change their queues. For

             example, several content moderators asked the company to change which queues they were

             assigned, whereby Workforce Management could periodically place a moderator in less graphic

             queues, such as regulated goods. Defendants failed to implement any of these safety standards.

                     6.     But Defendants ignore the very workplace safety standards they helped create.

             Instead, the multibillion-dollar corporations affirmatively require their content moderators to work



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             under conditions known to cause and exacerbate psychological trauma.

                    7.      Facebook contracts with companies like Cognizant to serve as its agent responsible

             for finding, hiring and employing the moderators, and then laying them off when the contract

             expires, thereby attempting to absolve Defendants of accountability for the mental health of

             (offering no psychological support to) their workers after they are laid off. In fact, Cognizant is

             shutting down its Tampa office in February 2020, laying off its workforce and leaving content

             moderators, including Plaintiffs, with no means of obtaining requisite ongoing medical

             monitoring, screening, diagnosis, or adequate treatment after suffering psychological trauma

             during their employment.

                    8.      By requiring their content moderators to work in dangerous conditions that cause

             debilitating physical and psychological harm and then laying them off when the contract expires

             in order to absolve themselves of accountability for their mental health issues, Defendants violate

             Florida law.

                    9.      Without this Court’s intervention, Defendants will continue to breach the duties

             they owe to the content moderators who review content on Facebook’s platforms.

                    10.     Content moderators are essentially the first responders of the internet, performing

             a critical function on a platform with billions of users. Many times, moderators are the first to see

             emergency situations and report them to Facebook to report to local authorities. Plaintiffs were

             specifically referred to as “first responders,” and Facebook compiles statistics about how

             moderators assist law enforcement. Plaintiffs and the other content moderators, at a minimum,

             deserve the same protections as other first responders, which includes workers’

             compensation/health coverage for the PTSD caused by the working conditions.

                    11.     On behalf of themselves and all others similarly situated, Plaintiffs brings this



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             action (1) to ensure that Defendants cease to engage in these unlawful and unsafe workplace

             practices and instead provide content moderators with safe tools, systems, and mandatory ongoing

             mental health support, (2) to establish a medical monitoring fund for testing and providing mental

             health treatment to the thousands of current and former content moderators affected by

             Defendants’ unlawful practices, and (3) to provide monetary compensation to the thousands of

             current and former content moderators for the lost wages and medical and mental health expenses

             incurred as a result of the Defendants’ unlawful practices.

                                              JURISDICTION AND VENUE

                     12.    This is an action for damages in excess of $30,000.00, exclusive of interest, costs,

             and equitable relief.

                     13.    Venue is proper in this Court because the unlawful conduct giving rise to the claims

             herein occurred within this judicial district, and at least one Defendant is located in this judicial

             district.

                     14.    This Court has personal jurisdiction over Cognizant because the corporation

             operates, conducts, engages in, and carries on a business venture in this state and has an office in

             this judicial circuit, at 7725 Woodland Center Blvd., Tampa, FL 33614, and regularly conducts

             substantial business there, committed a tortious act within Florida, and engages in substantial and

             not isolated activity within Florida.

                     15.    This Court has personal jurisdiction over Facebook because the corporation

             operates, conducts, engages in, and carries on a business venture in this state and has an office in

             this state, located at 701 Brickell Ave., Miami, Florida 33131, and regularly conducts substantial

             business there and throughout the state, committed a tortious act within Florida, and engages in

             substantial and not isolated activity within Florida.



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                                                         PARTIES

                    16.     Plaintiff Garrett is a resident of Hillsborough County, Florida.

                    17.     Plaintiff Jeudy is a resident of Hillsborough County, Florida.

                    18.     Defendant Facebook provides “products that enable people to connect and share

             with friends and family through mobile devices, personal computers, and other surface” or “to

             share their opinions, ideas, photos and videos, and other activities with audiences ranging from

             their closest friends to the public at large.” Facebook is a publicly traded corporation incorporated

             under the laws of Delaware, with its headquarters located at 1601 Willow Road, Menlo Park,

             California, 94025.

                    19.     Defendant Cognizant is a professional services vendor that employed

             approximately 800 workers at its Facebook content moderation site in Tampa. Cognizant is a

             publicly traded corporation incorporated under the laws of Delaware, with its headquarters located

             at 500 Frank W. Burr Boulevard, Teaneck, New Jersey, 07666.

                                               FACTUAL ALLEGATIONS

             A.     Content moderators watch and remove some of the most depraved images on the
                    internet to protect users of Facebook’s products from trauma-inducing content.

                    20.     Content moderation is the practice of removing online material that violates the

             terms of use for social networking sites or applications like Facebook.com and Instagram.

                    21.     Instead of scrutinizing content before it is published to its users, Facebook primarily

             relies on users to report inappropriate content. Facebook receives more than one million user

             reports of potentially objectionable content on its social media sites and applications every day.

             Human moderators review the reported content – sometimes thousands of videos and images every

             shift – and remove those that violate Facebook’s terms of use.

                    22.     After content is flagged, Facebook’s algorithms direct it to a content moderator,

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             who then reviews it using a platform developed by Facebook.

                    23.     Facebook asks content moderators to review more than 10 million potentially rule-

             breaking posts per week via its review platforms. Facebook seeks to ensure all user-reported

             content is reviewed within 24 hours of a report and with an overall error rate of less than one

             percent.

                    24.     Facebook has developed and continually revises hundreds of rules that content

             moderators use to determine whether flagged content – i.e., posts, comments, messages, images,

             videos, advertisements, etc. – violates Facebook’s policies.

                    25.     Facebook has also developed expectations for the amount of time a content

             moderator should need to review different types of flagged content.

                    26.     According to Monika Bickert, head of global policy management at Facebook,

             Facebook conducts weekly audits of every content moderator’s work to ensure that its content

             rules are being followed consistently.

                    27.     In August 2015, Facebook rolled out Facebook Live, a feature that allows users to

             broadcast live video streams on their Facebook pages. Mark Zuckerberg, Facebook’s chief

             executive officer, considers Facebook Live to be instrumental to the corporation’s growth. Mr.

             Zuckerberg has been a prolific user of the feature, periodically “going live” on his own Facebook

             page to answer questions from users.

                    28.     But Facebook Live also provides a platform for users to livestream murder,

             beheadings, torture, and even their own suicides, including the following:

                   In late April 2017, a father killed his 11-month-old daughter and livestreamed it before

                    hanging himself. Six days later, Naika Venant, a 14-year-old who lived in a foster home,

                    tied a scarf to a shower’s glass doorframe and hung herself. She streamed the whole suicide



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                    in real time on Facebook Live. Then in early May, a Georgia teenager took pills and placed

                    a bag over her head in a suicide attempt. She livestreamed the attempt on Facebook and

                    survived only because viewers watching the event unfold called police, allowing them to

                    arrive before she died.

                   On 15 March 2019, the horrific mass shooting in Christchurch, New Zealand, which killed

                    50 people at two mosques, was livestreamed on Facebook as the shooter pulled up to a

                    mosque in Christchurch, New Zealand, grabbed guns out of his vehicle and stormed inside,

                    opening fire on worshipers. By the time Facebook removed the 17-minute video, it had

                    been viewed roughly 4,000 times, the company said.

                    29. Facebook understands the dangers associated with a person watching this kind of

             imagery.

                    30.     In the context of protecting users from this kind of content, Mr. Zuckerberg

             announced on May 3, 2017:

                    “Over the last few weeks, we’ve seen people hurting themselves and others on
                    Facebook—either live or in video posted later. Over the next year, we’ll be adding
                    3,000 people to our community operations team around the world – on top of the
                    4,500 we have today – to review the millions of reports we get every week, and
                    improve the process for doing it quickly.

                    These reviewers will also help us get better at removing things we don’t allow on
                    Facebook like hate speech and child exploitation. And we’ll keep working with
                    local community groups and law enforcement who are in the best position to help
                    someone if they need it – either because they’re about to harm themselves, or
                    because they’re in danger from someone else.”

                    31.     According to Sheryl Sandberg, Facebook’s chief operating officer, “Keeping

             people safe is our top priority. We won’t stop until we get it right.”

                    32.     Today, approximately 15,000 content moderators around the world review content

             via Facebook’s review platforms.



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                    33.     Most of these 15,000 content moderators, like Plaintiffs and the proposed class

             here, are employed by third-party vendors of Facebook and are not Facebook employees.

                    34.     For many reasons, including short-term contracts and the trauma associated with

             the work, most content moderators – like Plaintiffs – remain in the position for short periods of

             time. When the contractors’ contracts expire, the content moderators are laid off and abandoned

             by Defendants, with no access to adequate or ongoing mental health services or psychological

             support.

             B.     Repeated exposure to graphic imagery can cause devastating psychological trauma,
                    including PTSD.

                    35.     It is well known that exposure to images of graphic violence can cause debilitating

             injuries, including PTSD.

                    36.     In a study conducted by the National Crime Squad in the United Kingdom, 76

             percent of law enforcement officers surveyed reported feeling emotional distress in response to

             exposure to child abuse on the internet. The same study, which was co-sponsored by the United

             Kingdom’s Association of Chief Police Officers, recommended that law enforcement agencies

             implement employee support programs to help officers manage the traumatic effects of exposure

             to child pornography.

                    37.     In a study of 600 employees of the Department of Justice’s Internet Crimes Against

             Children task force, the U.S. Marshals Service found that a quarter of the cybercrime investigators

             surveyed displayed symptoms related to psychological trauma, including from secondary

             traumatic stress.

                    38.     Another study of cybercrime investigators from 2010 found that “greater exposure

             to disturbing media was related to higher levels of . . . secondary traumatic stress” and that

             “substantial percentages” of investigators exposed to disturbing media “reported poor

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             psychological well-being.”

                     39.     The Eyewitness Media Hub has also studied the effects of viewing videos of

             graphic violence, including suicide bombing, and found that“40 percent of survey respondents said

             that viewing distressing eyewitness media has had a negative impact on their personal lives.”

                     40.     Whereas viewing or hearing about another person’s traumatic event used to be

             considered “secondary traumatic stress,” the current Diagnostic and Statistical Manual of Mental

             Disorders (American Psychiatric Association, 5th ed. 2013) (“DSM-5”) recognizes that secondary

             or indirect exposure to trauma, such as repeated or extreme exposure to aversive details of trauma

             through work-related media, meets the first diagnostic criterion for PTSD.

                     41.     It is well established that stressful work conditions, such as especially demanding

             job requirements or a lack of social support, reduce resilience in the face of trauma exposure and

             increase the risk of developing debilitating psychological symptoms.

                     42.     Depending on many factors, individuals who have experienced psychological

             trauma may develop a range of subtle to significant physical and psychological symptoms,

             including extreme fatigue, disassociation, difficulty sleeping, excessive weight gain, anxiety,

             nausea, and other digestive issues.

                     43.     Trauma exposure and PTSD are also associated with increased risk of chronic

             health problems including cardiovascular problems, strokes, pain syndromes, diabetes, epilepsy,

             and dementia.

                     44.     There is growing evidence that early identification and treatment of PTSD is

             important from a physical health perspective, as a number of meta-analyses have shown increased

             risk of cardiovascular, metabolic, and musculoskeletal disorders among patients with long-term

             PTSD.



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                    45.     Psychological trauma and/or PTSD are also often associated with the onset or

             worsening of substance use disorders. Epidemiologic studies indicate that one-third to one-half of

             individuals with PTSD also have a substance use disorder. Compared to individuals without PTSD,

             those with PTSD have been shown to be more than twice as likely to meet the diagnostic criteria

             for alcohol abuse or dependence; individuals with PTSD are also three to four times more likely

             to meet the diagnostic criteria for drug abuse or dependence.

                    46.     PTSD symptoms may manifest soon after the traumatic experiences, or they may

             manifest later in life, sometimes months or years after trauma exposure.

                    47.     An individual’s risk of developing PTSD or associated symptoms may be reduced

             through prevention measures, which include primary, secondary, or tertiary interventions. Primary

             interventions are designed to increase resilience and lower the risk of future PTSD among the

             general population. Secondary interventions are designed to lower the risk of PTSD among

             individuals who have been exposed to trauma, even if they are not yet showing symptoms of

             traumatic stress. Finally, tertiary interventions are designed to prevent the worsening of symptoms

             and improve functioning in individuals who are already displaying symptoms of traumatic stress,

             or have been diagnosed with PTSD.

                    48.     Individuals who develop PTSD or other mental health conditions following

             traumatic exposure require not only preventative measures but also treatment. Unlike prevention,

             treatment measures are aimed at symptom resolution and recovery from the condition.

                    49.     Preliminary screening is necessary to determine which types of prevention or

             treatment measures are most appropriate for an individual.

             C.     Facebook helped craft industry standards for minimizing harm to content
                    moderators but failed to implement the very standards it helped create.

                    50.     In 2006, Facebook helped create the Technology Coalition, a collaboration of

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             internet companies aiming “to develop technology solutions to disrupt the ability to use the Internet

             to exploit children or distribute child pornography.”

                    51.     Facebook was a member of the Technology Coalition at all times relevant to the

             allegations herein.

                    52.     In January 2015, the Technology Coalition published an “Employee Resilience

             Guidebook for Handling Child Sex Abuse Images” (the “Guidebook”).

                    53.     According to the Guidebook, the technology industry “must support those

             employees who are the front line of this battle.”

                    54.     The Guidebook recommends that internet companies implement a robust, formal

             “resilience” program to support content moderators’ well-being and mitigate the effects of

             exposure to trauma-inducing imagery.

                    55.     With respect to hiring content moderators, the Guidebook recommends:

                            a.      In an informational interview, “[u]se industry terms like ‘child sexual abuse

                                    imagery’ and ‘online child sexual exploitation’ to describe subject matter.”

                            b.      In an informational interview, “[e]ncourage candidate to go to websites

                                    [like the National Center for Missing and Exploited Children] to learn about

                                    the problem.”

                            c.      In follow-up interviews, “[d]iscuss candidate’s previous experience/

                                    knowledge with this type of content.”

                            d.      In follow-up interviews, “[d]iscuss candidate’s current level of comfort

                                    after learning more about the subject.”

                            e.      In follow-up interviews, “[a]llow candidate to talk with employees who

                                    handle content about their experience, coping methods, etc.”



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                           f.      In follow-up interviews, “[b]e sure to discuss any voluntary and/or

                                   mandatory counseling programs that will be provided if candidate is hired.”

                    56.    With respect to safety on the job, the Guidebook recommends:

                           a.      Limiting the amount of time an employee is exposed to child sexual abuse

                                   imagery;

                           b.      Teaching moderators how to assess their own reaction to the images;

                           c.      Performing a controlled content exposure during the first week of

                                   employment with a seasoned team member and providing follow up

                                   counseling sessions to the new employee;

                           d.      Providing mandatory group and individual counseling sessions

                                   administered by a professional with specialized training in trauma

                                   intervention; and

                           e.      Permitting moderators to “opt-out” from viewing child sexual abuse

                                   imagery.

                    57.    The Technology Coalition also recommends the following practices for minimizing

             exposure to graphic content:

                           a.      Limiting time spent viewing disturbing media to “no more than four

                                   consecutive hours;”

                           b.      “Encouraging switching to other projects, which will allow professionals to

                                   get relief from viewing images and comeback recharged and refreshed;”

                           c.      Using “industry-shared hashes to more easily detect and report [content]

                                   and in turn, limit employee exposure to these images. Hash technology

                                   allows for identification of exactly the same image previously seen and



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                                    identified as objectionable;”

                            d.      Prohibiting moderators from viewing child pornography one hour before

                                    the individuals leave work; and

                            e.      Permitting moderators to take time off as a response to trauma.

                    58.     According to the Technology Coalition, if a company contracts with a third-party

             vendor to perform duties that may bring vendor employees in contact with graphic content, the

             company should clearly outline procedures to limit unnecessary exposure and should perform an

             initial audit of the independent contractor’s wellness procedures for its employees.

                    59.     The National Center for Missing and Exploited Children (“NCMEC”) also

             promulgates guidelines for protecting content moderators from psychological trauma. For

             instance, NCMEC recommends changing the color or resolution of the image, superimposing a

             grid over the image, changing the direction of the image, blurring portions of the image, reducing

             the size of the image, and muting audio.

                    60.     Based on these industry standards, some internet companies take steps to minimize

             harm to content moderators. However, Defendants do not take any of the mitigating set forth

             above. Cognizant did not even conduct any psychological evaluations on new employees,

             including Plaintiffs, to determine if they were a good fit for the job. Although there are counselors

             on staff, they do not provide any real counseling services. In fact, management was told to monitor

             how much time employees spent with counselors in order to discourage use of counseling services.

                    61.     Content moderators review thousands of traumatic images each day through

             Facebook’s review platforms without the benefit of these known safeguards and with little training

             on how to handle the resulting distress.

                    62.     In addition, Facebook sets overarching standards relating to the timeframe for and



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             accuracy of review.

                    63.     Plaintiffs and other content moderators at the Tampa Cognizant facility face

             relentless pressure from their bosses to better enforce Facebook’s community standards, which

             receive near-daily updates that leave its contractor workforce in a perpetual state of uncertainty.

             The Tampa site, which has been accurately referred to in the press as a “sweatshop,” has routinely

             failed to meet the 98 percent “accuracy” target set by Facebook. With a score hovering around 92,

             it has been Facebook’s worst-performing site in North America.

                    64.     In mid-2019, a “Wellness Summit” was held, where Facebook displayed the

             productivity statistics for its content moderator contractors. Cognizant was on the bottom of the

             list. After this Summit, Cognizant issued directives to begin writing up employees for lack of

             production and taking too much “wellness” time.

                    65.     Following the Wellness Summit, employees, including Plaintiffs, were being

             pushed hard. Employees were expected to review 300 pieces of content per day. Employees were

             being written up for lack of production and taking too much “wellness” time (e.g. time to

             “decompress” during a shift). These write ups were based on a directive from Cognizant, which

             originally came from Facebook

                    66.     Facebook understands that its standards impose intense pressure and stress on

             content moderators, and that such stress contributes to and exacerbates content moderators’ risk of

             developing psychological trauma.

                    67.     As one moderator described the job:

                    “[The moderator] in the queue (production line) receives the tickets (reports)
                    randomly. Texts, pictures, videos keep on flowing. There is no possibility to know
                    beforehand what will pop up on the screen. The content is very diverse. No time is
                    left for a mental transition. It is entirely impossible to prepare oneself
                    psychologically. One never knows what s/he will run into. It takes sometimes a few
                    seconds to understand what a post is about. The agent is in a continual situation of

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                      stress. The speed reduces the complex analytical process to a succession of
                      automatisms. The moderator reacts. An endless repetition. It becomes difficult to
                      disconnect at the end of the eight-hour shift.”

                      68.    Facebook also demands that its content moderation vendors, including Cognizant,

             require their employees to sign sweeping Non-Disclosure Agreements (“NDAs”). Facebook

             further requires its vendors to provide Facebook-developed training to all content moderators to

             instruct the moderators not to speak about the content or workplace conditions to anyone outside

             of their review team. By prohibiting content moderators from discussing their work or seeking

             outside social support, Facebook impedes the development of resiliency and increases the risk that

             moderators will develop psychological trauma.

                      69.    The results of an in-depth investigation into the dangerous working conditions at

             Cognizant’s Tampa facility and some of the psychological harm suffered by the content

             moderators employed there was published in The Verge in June 2019. For further background

             information, please visit: https://www.theverge.com/2019/6/19/18681845/facebook-moderator-

             interviews-video-trauma-ptsd-cognizant-tampa and https://www.cnn.com/videos/business/2019/

             06/23/former-facebook-moderator-blows-the-whistle.cnn.

             D.       Plaintiffs Jeudy’s individual allegations.

                      70.    From approximately December 13, 2017 until the present, Plaintiff worked as a

             Facebook content moderator at Cognizant’s offices at 7725 Woodland Center Blvd., Tampa, FL

             33614.

                      71.    During this period, Plaintiff Jeudy was employed by Defendant Cognizant.

                      72.    At all times relevant to this complaint, Cognizant was an independent contractor of

             Facebook.

                      73.    Cognizant directly oversaw all human resources matters concerning Mr. Jeudy.



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                    74.     Mr. Jeudy has never been employed by Facebook in any capacity and never

             received any wages or employee benefits package (e.g., wellness benefits, paid time off, parental

             financial assistance) from Facebook.

                    75.     During his employment as a content moderator, Mr. Jeudy was exposed to

             thousands of images, videos, and livestreamed broadcasts of graphic violence.

                    76.     Mr. Jeudy is paid $16 per hour. He and other content moderators receive two 15-

             minute breaks and a 30-minute lunch each day, along with nine minutes per day of “wellness” time

             that they purportedly can use when they feel overwhelmed by the emotional toll of the job.

                    77.     On the night of March 9, 2018, Mr. Jeudy’s coworker, Keith Utley, had a heart

             attack and died at his desk during Mr. Jeudy’s shift. Management came in and instructed everyone

             that they could not speak about it with anyone. Cognizant never disclosed what Mr. Utley was

             watching when he died, nor did it taking any apparent mitigating steps to ensure this does not

             happen again to other content moderators.

                    78.     On March 15, 2019, two consecutive terrorist shooting attacks occurred at mosques

             in Christchurch, New Zealand, killing 51 people and injuring 49. The gunman, a white

             supremacist, live-streamed the first 17 minutes of this attack on Facebook Live. Cognizant

             employees, including Mr. Jeudy, were forced to watch these horrific images over and over again

             due to its viral nature. Defendants Facebook and Cognizant did not provide support after this event

             and failed to have trauma counselors on site.

                    79.     Mr. Jeudy (who is Black) was assigned to the dedicated “Hate Cue,” which required

             that he review extreme racist and violent content, particularly against minorities. This was a

             “Double Review” cue, which required double review thereby requiring more time, which would

             have affected P’s productivity due to no fault of his own.



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                    80.     As a result of the extreme working conditions and unrelenting pressure, in July

             2019, Mr. Jeudy was diagnosed with anxiety disorder and PTSD. As a result of these impairments,

             Mr. Jeudy went out on a leave of absence and was scheduled to return in August.

                    81.     On Aug. 13, 2019, Mr. Jeudy suffered a stroke (cerebral infarction) while on leave.

             He also began suffering complex partial seizures and later was diagnosed with epilepsy. These

             disabilities impaired several major life activities, including sleeping, thinking and speaking. It is

             well established that chronic psychological stress contributes to an increased risk of stroke.

             Furthermore, strokes are a known cause of epilepsy. Certain factors, including stress and lack of

             sleep, are known to provoke seizures in people with epilepsy. Mr. Jeudy’s stoke and epilepsy were

             directly caused by the extreme working conditions to which he was exposed.

             E.     Plaintiffs Garrett’s individual allegations.

                    82.     From approximately July 2018 until the present, Plaintiff Garrett worked as a

             Process Executive (a/k/a Facebook Content Moderator) at Cognizant’s offices at 7725 Woodland

             Center Blvd., Tampa, FL 33614.

                    83.     During this period, Plaintiff Garrett was employed by Cognizant.

                    84.     At all times relevant to this complaint, Cognizant was an independent contractor of

             Facebook.

                    85.     Cognizant directly oversaw all human resources matters concerning Ms. Garrett.

                    86.     Ms. Garrett has never been employed by Facebook in any capacity and never

             received any wages or employee benefits package (e.g., wellness benefits, paid time off, parental

             financial assistance) from Facebook.

                    87.     During her employment as a content moderator, Ms. Garrett was exposed to

             thousands of images, videos, and livestreamed broadcasts of graphic violence, including



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             beheadings, mutilations, terrorist killings and torture, rapes and murders.

                    88.     As a result of the extreme working conditions and unrelenting pressure, in Fall

             2018, Ms. Garrett was diagnosed with PTSD. As a result of these impairments, Ms. Garrett went

             out on a leave of absence in or about September 2019.

                    89.     Plaintiffs have been required to retain the undersigned counsel to represent them in

             this action and are obligated to pay them a reasonable fee for their services.

                    90.     Plaintiffs demand a jury trial on all claims.

                                            CLASS ACTION ALLEGATIONS

                    91.     Plaintiffs Garrett and Jeudy bring this class action individually and on behalf of all

             Florida citizens who performed content moderation work for Facebook within the last three years

             as an employee of Cognizant.

                    92.     The class is so numerous that joinder of all members is impracticable. Plaintiffs do

             not know the exact size of the class since that information is within the control of Defendants.

                    93.     However, upon information and belief, Plaintiffs allege that the number of class

             members is in the thousands. Membership in the class is readily ascertainable from Defendants’

             records, e.g., Cognizant’s employment records and/or Facebook’s records relating to its contract

             with Cognizant or to registered users of its content review platforms.

                    94.     Plaintiffs’ claims are typical of the claims of the class, as all members of the class

             are similarly affected by Defendants’ wrongful conduct.

                    95.     There are numerous questions of law or fact common to the class, and those issues

             predominate over any question affecting only individual class members. The common legal and

             factual issues include the following:

                    a.      Whether Defendants committed the violations of the law alleged herein;



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                    b.      Whether Defendants participated in and perpetrated the tortious conduct

                            complained of herein;

                    c.      Whether Plaintiffs and the class are entitled to medical monitoring;

                    d.      Whether Plaintiffs and the class are entitled to monetary compensation for the lost

             wages and medical and mental health expenses incurred as a result of the Defendants’ unlawful

             practices.

                    e.      Whether Defendants should be ordered to implement and comply with industry

                            guidelines for safety in content moderation.

                    96.     The claims asserted by Plaintiffs are typical of the claims of the class, in that the

             representative Plaintiffs, like all class members, were exposed to highly toxic, unsafe, and injurious

             content while providing content moderation services for Facebook. Each member of the proposed

             class has been similarly injured by Defendants’ misconduct.

                    97.     Plaintiffs will fairly and adequately protect the interests of the class. Plaintiffs have

             retained attorneys experienced in class actions and complex litigation. Plaintiffs intend to

             vigorously prosecute this litigation. Neither Plaintiffs nor their counsel have interests that conflict

             with the interests of the other class members.

                    98. Plaintiffs and the class members have all suffered and will continue to suffer harm

             resulting from Defendants’ wrongful conduct. A class action is superior to other available methods

             for the fair and efficient adjudication of the controversy. Treatment as a class action will permit a

             large number of similarly situated persons to adjudicate their common claims in a single forum

             simultaneously, efficiently, and without the duplication of effort and expense that numerous

             individual actions would engender. Class treatment will also permit the adjudication of claims by

             many members of the proposed class who could not individually afford to litigate a claim such as



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             is asserted in this complaint. This class action likely presents no difficulties in management that

             would preclude maintenance as a class action.

                                              FIRST CAUSE OF ACTION
                                         INTENTIONAL TORT – COGNIZANT
                            (Deliberate Concealment Or Misrepresentation Of Known Danger)

                     99.     Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 98 as

             though fully set forth herein.

                     100.    Defendant Cognizant had knowledge of the known danger to Plaintiffs and the class

             by knowingly exposing them to highly toxic, unsafe, and injurious content while providing content

             moderation services for Facebook.

                     101.    Defendant Cognizant had knowledge of the known danger to Plaintiffs and the class

             based upon prior similar injuries to other workers as well as explicit warnings by industry groups

             specifically identifying the danger or exposing employees to highly toxic, unsafe, and injurious

             content while providing content moderation services that was virtually certain to cause injury to

             Plaintiffs and the class.

                     102.    Based upon these warnings, Cognizant’s actions in exposing employees to highly

             toxic, unsafe, and injurious content while providing content moderation services was virtually

             certain to result in injury to Plaintiffs and the class if proper precautions were not taken. Cognizant,

             despite being aware of the existence of such precautions, intentionally refused to implement such

             precautions.

                     103.    Plaintiffs and the class were not aware of the danger caused by providing content

             moderation services for Facebook because it was not apparent and was not disclosed to them by

             Cognizant. Indeed, Cognizant prevented content moderators from discussing the dangers with

             new employees because they were required to sign broad NDAs.



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                      104.   Cognizant deliberately concealed and misrepresented these dangers to Plaintiffs

             and the class, thereby preventing them from exercising informed judgment as to whether to

             perform the work. Instead, Cognizant advertised the job as a prestigious career in high technology

             that simply required them to become knowledgeable about “leading social media products and

             community standards,” to “assist our community and help resolve inquiries empathetically,

             accurately and on time,” and to “make well balanced decisions and personally driven to be an

             effective advocate for our community.”

                      105.   Cognizant’s actions in knowingly exposing Plaintiffs and the class to highly toxic,

             unsafe, and injurious content while providing content moderation services for Facebook caused

             the injury of the Plaintiffs and the class, including PTSD and other psychological disorders,

             physical injuries including stroke and epilepsy, and other injuries, including lost pay, lost future

             earning capacity, emotional distress and loss of enjoyment of life.

                      106.   As a result of Cognizant’s tortious conduct, Plaintiffs and the class are at an

             increased risk of developing serious mental health injuries, including, but not limited to, PTSD, as

             well as associated physical injuries.

                      107.   To remedy that injury, Plaintiffs and the class need medical monitoring that

             provides specialized screening, assessment, and treatment not generally given to the public at

             large.

                      108.   The medical monitoring regime includes, but is not limited to, baseline screening,

             assessments, and diagnostic examinations that will assist in diagnosing the adverse health effects

             associated with exposure to trauma. This screening and assessment will also inform which

             behavioral and/or pharmaceutical interventions are best suited to prevent or mitigate various

             adverse consequences of post-traumatic stress and other conditions associated with exposure to



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             graphic imagery.

                    109.    In particular, the medical monitoring regime includes (a) “secondary” preventative

             interventions, designed to reduce the risk of later onset of PTSD among class members who are

             not yet displaying symptoms of PTSD; (b) “tertiary” interventions, designed to reduce the

             worsening of symptoms among those who are experiencing symptoms associated with post-

             traumatic stress or have a diagnosis of PTSD; and (c) evidence-based treatments to facilitate

             recovery from mental health conditions.

                    110.    Monitoring, assessing, and providing preventative interventions and/or treatment

             to Plaintiffs and the class will significantly reduce the risk of long-term injury, disease, and

             economic loss that Plaintiffs and the class suffer as a result of Cognizant’s unlawful conduct.

                    111. Plaintiffs seek medical monitoring to facilitate the screening, diagnosis, and adequate

             treatment of Plaintiffs and the class for psychological trauma, including to prevent or mitigate

             conditions such as PTSD.

                                             SECOND CAUSE OF ACTION
                                             NEGLIGENCE - FACEBOOK
                                         (Negligent Exercise of Retained Control)

                    112.    Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 98 as

             though fully set forth herein.

                    113.    The hirer of an independent contractor is liable for its own negligence to an

             employee of the contractor insofar as a hirer’s exercise of retained control affirmatively

             contributed to the employee’s injuries.

                    114.    If an entity hires an independent contractor to complete work but retains control

             over any part of the work, the hiring entity has a duty to the independent contractor’s employees

             or subcontractors to exercise that control with reasonable care.



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                     115.    If the hiring entity negligently exercises its retained control in a manner that

             affirmatively contributes to the injuries of the contractor’s employees or subcontractors, the hiring

             entity is liable for those injuries.

                     116.    At all times relevant to the allegations herein, Plaintiffs and class members were

             employees of Cognizant, an independent contractor that Facebook hired to provide content

             moderation services.

                     117.    Facebook exercised retained control over certain aspects of the work performed by

             Plaintiffs and the class, including:

                     a.      Requiring content moderators to use Facebook-developed review platforms that

                             presented unmitigated traumatic content to content moderators according to

                             Facebook-developed algorithms;

                     b.      Requiring that content moderators – through Cognizant—sign NDAs and undergo

                             Facebook-developed confidentiality trainings that prohibit them from discussing

                             their work outside their review teams; and

                     c.      Setting expectations as to the overall timeframe for and accuracy of content review,

                             calculating the amount of time it should take a content moderator to review different

                             types of posts, and deciding the overall number of man hours required to meet the

                             overarching timeframe and accuracy expectations.

                     118.    Based on its exercise of retained control, Facebook has had at all relevant times a

             duty to exercise reasonable care with regard to the safety of Plaintiffs and the class.

                     119.    Facebook negligently exercised its retained control in a manner that affirmatively

             contributed to the injuries of Plaintiffs and the class, including by exacerbating Plaintiffs’ and class

             members’ risks of developing PTSD or other health issues. For example:



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                    a.      Facebook failed to provide adequate technological safeguards to protect content

                            moderators from risks associated with exposure to traumatic content via

                            Facebook’s review platforms and algorithms;

                    b.      Facebook’s NDAs and confidentiality trainings diminished content moderators’

                            social support networks and resilience by prohibiting content moderators from

                            speaking about the content they reviewed or other related workplace conditions to

                            anyone outside of their review teams; and

                    c.      By setting demanding standards for review, both in terms of quantity and quality

                            expectations, Facebook imposed stressful work conditions that serve to further

                            reduce content moderators’ resilience to trauma.

                    120.    Facebook was aware of the psychological trauma that could be caused by viewing

             video, images, and/or livestreamed broadcasts of child abuse, rape, torture, bestiality, beheadings,

             suicide, murder, and other forms of extreme violence through its review platforms.

                    121.    Facebook was also aware or should have been aware that its review platforms could

             be made safer if proper precautions were followed; that requiring content moderators not to discuss

             their work or workplace conditions reduced their ability to deal with traumatic content; and that

             Facebook’s overall quality and quantity standards had the effect of imposing intense workplace

             stress and, accordingly, increasing content moderators’ risk of injury from psychological trauma.

                    122.    Facebook breached its duty to Plaintiffs and the class by failing to provide the

             necessary and adequate technological safeguards, safety and instructional materials, warnings,

             social support, and other means to reduce and/or minimize the physical and psychiatric risks

             associated with exposure to graphic imagery through Facebook’s review platform.

                    123.    Facebook continues to breach its duty to class members by failing to exercise its



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             retained control with reasonable care; that breach continues to elevate class members’ risks of

             injury from psychological trauma.

                      124.   As a result of Facebook’s tortious conduct, Plaintiffs and the class are at an

             increased risk of developing serious mental health injuries, including, but not limited to, PTSD,

             and associated physical injuries.

                      125.   To remedy that injury, Plaintiffs and the class need medical monitoring that

             provides specialized screening, assessment, and treatment not generally given to the public at

             large.

                      126.   The medical monitoring regime includes, but is not limited to, baseline screening,

             assessments, and diagnostic examinations that will assist in diagnosing the adverse health effects

             associated with exposure to trauma. This screening and assessment will also inform which

             behavioral and/or pharmaceutical interventions are best suited to prevent or mitigate various

             adverse consequences of post-traumatic stress and other conditions associated with exposure to

             graphic imagery.

                      127.   In particular, the medical monitoring regime includes (a) “secondary” preventative

             interventions, designed to reduce the risk of later onset of PTSD among class members who are

             not yet displaying symptoms of PTSD; (b) “tertiary” interventions, designed to reduce the

             worsening of symptoms among those who are experiencing symptoms associated with post-

             traumatic stress or have a diagnosis of PTSD; and (c) evidence-based treatments to facilitate

             recovery from mental health conditions.

                      128.   Monitoring, assessing, and providing preventative interventions and/or treatment

             to Plaintiffs and the class will significantly reduce the risk of long-term injury, disease, and

             economic loss that Plaintiffs and the class suffer as a result of Facebook’s unlawful conduct.



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                     129.       Plaintiffs seek medical monitoring to facilitate the screening, diagnosis, and

             adequate treatment of Plaintiffs and the class for psychological trauma, including to prevent or

             mitigate conditions such as PTSD.

                                                 THIRD CAUSE OF ACTION
                                                 NEGLIGENCE - FACEBOOK
                                           (Negligent Provision of Unsafe Equipment)

                     130.       Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 98 as

             though fully set forth herein.

                     131.       An entity that hires an independent contractor to complete work is also liable to the

             independent contractor’s employees or subcontractors if the hiring entity negligently provides

             unsafe equipment that contributes to a workplace injury.

                     132.       Facebook provided to its independent contractors the review platforms that

             Plaintiffs and the class were required to use to complete their work.

                     133.       Facebook had a duty to exercise reasonable care to furnish safe review platforms to

             its contractors.

                     134.       Facebook was aware of the psychological trauma that could be caused by viewing

             video, images, and/or livestreamed broadcasts of child abuse, rape, torture, bestiality, beheadings,

             suicide, murder, and other forms of extreme violence through its review platforms.

                     135.       Facebook was aware or should have been aware that its review platforms could be

             made safer if proper precautions were followed.

                     136.       Facebook nevertheless provided unsafe review tools to the contractor. The review

             platforms presented unmitigated traumatic content to Plaintiffs and the class.

                     137. Facebook breached its duty to Plaintiffs and the class by failing to provide the

             necessary and adequate technological safeguards, safety and instructional materials, warnings, and



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             other means to reduce and/or minimize the physical and psychiatric risks associated with exposure

             to graphic imagery through Facebook’s review platform.

                      138.   Facebook continues to breach its duty to class members by failing to provide a

             reasonably safe review platform; that breach continues to elevate class members’ risks of injury

             from psychological trauma.

                      139.   As a result of Facebook’s tortious conduct, Plaintiffs and the class are at an

             increased risk of developing serious mental health injuries, including, but not limited to, PTSD.

                      140.   To remedy that injury, Plaintiffs and the class need medical monitoring that

             provides specialized screening, assessment, and treatment not generally given to the public at

             large.

                      141.   The medical monitoring regime includes, but is not limited to, baseline screening,

             assessments, and diagnostic examinations that will assist in diagnosing the adverse health effects

             associated with exposure to trauma. This screening and assessment will also inform which

             behavioral and/or pharmaceutical interventions are best suited to prevent or mitigate various

             adverse consequences of post-traumatic stress and other conditions associated with exposure to

             graphic imagery.

                      142.   In particular, the medical monitoring regime includes (a) “secondary” preventative

             interventions, designed to reduce the risk of later onset of PTSD among class members who are

             not yet displaying symptoms of PTSD; (b) “tertiary” interventions, designed to reduce the

             worsening of symptoms among those who are experiencing symptoms associated with post-

             traumatic stress or have a diagnosis of PTSD; and (c) evidence-based treatments to facilitate

             recovery from mental health conditions.

                      143.   Monitoring, assessing, and providing preventative interventions and/or treatment



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             to Plaintiffs and the class will significantly reduce the risk of long-term injury, disease, and

             economic loss that Plaintiffs and the class suffer as a result of Facebook’s unlawful conduct.

                    144.    Plaintiffs seek medical monitoring to facilitate the screening, diagnosis, and

             adequate treatment of Plaintiffs and the class for psychological trauma, including to prevent or

             mitigate conditions such as PTSD.

                                                THIRD CAUSE OF ACTION
                                              FDUTPA – BOTH DEFENDANTS

                    145.    Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 98 as

             though fully set forth herein.

                    146.    Section 501.204(1) of the Florida Statutes provides that “unfair or deceptive acts or

             practices in the conduct of any trade or commerce are hereby declared unlawful.” The provisions

             of the Act shall be “construed liberally to promote the protection” of the “consuming public and

             legitimate business enterprises from those who engage in … deceptive[] or unfair acts or practices

             in the conduct of any trade or commerce.” Fla. Stat. § 501.202.

                    147.    Defendants were, at all times material to the allegations herein, engaged in “trade

             or commerce” as defined by the Section 501.203.

                    148.    Plaintiffs are “persons” within the meaning of Fla. Stat. § 501.211.

                    149.    Defendants engaged in unfair or deceptive acts or practices in the conduct of their

             trade or commerce by:

                            (1)     Knowingly exposing Plaintiffs and the class to highly toxic, unsafe, and

                                    injurious content while providing content moderation services for

                                    Facebook;

                            (2)     Concealing the known danger to Plaintiffs and the class, of which

                                    Defendants were aware based upon prior similar injuries to other workers

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                                 as well as explicit warnings by industry groups specifically identifying the

                                 danger or exposing employees to highly toxic, unsafe, and injurious content

                                 while providing content moderation services that was virtually certain to

                                 cause injury to Plaintiffs and the class;

                           (3)   Refusing, despite the known risks, to implement proper precautions to

                                 protect Plaintiffs and the class from the known dangers of being exposed to

                                 highly toxic, unsafe, and injurious content while providing content

                                 moderation services;

                           (4)   Preventing Plaintiffs and the class from becoming aware of the scope of the

                                 danger caused by providing content moderation services for Facebook by,

                                 inter alia, forcing Plaintiffs and the class to sign broad NDAs and

                                 preventing them from discussing the dangers with new employees or other

                                 persons;

                           (5)   By deliberately concealing and misrepresenting these dangers to Plaintiffs

                                 and the class by, inter alia, falsely advertising the job as a prestigious career

                                 in high technology that simply required them to become knowledgeable

                                 about “leading social media products and community standards,” to “assist

                                 our community and help resolve inquiries empathetically, accurately and on

                                 time,” and to “make well balanced decisions and personally driven to be an

                                 effective advocate for our community”; and

                           (6)   Shutting down Cognizant’s Tampa office in February 2020, laying off its

                                 workforce and leaving content moderators, including Plaintiffs and the

                                 class, with no means of obtaining requisite ongoing medical monitoring,



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                                    screening, diagnosis, or adequate treatment after suffering psychological

                                    trauma during their employment.

                    150.    Defendants’ unfair or deceptive acts or practices caused the injury of the Plaintiffs

             and the class, including PTSD and other psychological disorders, physical injuries including stroke

             and epilepsy, and other injuries, including lost pay, lost future earning capacity, emotional distress

             and loss of enjoyment of life.

                    151.    Defendants knew or should have known that their conduct was unfair or deceptive.

                    152.    Defendants willfully used the aforestated unfair or deceptive acts or practices to

             victimize persons with disabilities, including PTSD and other psychological disorders, and

             therefore are liable for a civil penalty of not more than $15,000 for each such violation pursuant

             to Fla. Stat. § 501.2077.

                    153.    Pursuant to Fla. Stat. § 501.211, Plaintiffs and the class are entitled to the following

             relief: (1) a declaratory judgment that Defendants’ actions constitute unfair or deceptive acts or

             practices; (2) an order enjoining Defendants from continuing to violate the law; (3) actual damages;

             (4) attorney’s fees and court costs as provided in Fla. Stat. § 501.2105.

                                                  PRAYER FOR RELIEF

                    WHEREFORE, Plaintiffs, individually and on behalf of the class, requests that the Court:

                    a.      Certify this action as a class action, with a class as defined above;

                    b.      Find that Plaintiffs are proper representatives of the class, and appoint the

                            undersigned as class counsel;

                    c.      Order Defendants to pay for notifying class members of the pendency of this suit;

                    d.      Order Defendants to create a medical monitoring fund for the benefit of Plaintiffs

                            and the class;



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                    e.      Award declaratory and injunctive relief as is necessary to protect the interests of

                            Plaintiffs and class members, including by enjoining Defendants from continuing

                            to conduct business through the unlawful and unfair practices alleged herein,

                            ordering Defendants to implement safety guidelines for all prospective content

                            moderation operations in Florida, and ordering Defendants to establish a fund to

                            pay for a medical monitoring program, to facilitate the ongoing screening,

                            diagnosis, and adequate treatment of Plaintiffs and the class for psychological

                            trauma including to prevent or mitigate conditions such as PTSD – until it can be

                            determined that psychological trauma is no longer a threat to their health;

                    f.      Award Plaintiffs and class members actual and compensatory damages, including

                            but not limited to lost pay, medical expenses, lost future earning capacity,

                            emotional distress and loss of enjoyment of life;

                    g.      Award Plaintiffs and class members their reasonable litigation expenses and

                            attorneys’ fees pursuant to applicable law, including but not limited to Fla. Stat. §

                            501.2105; and

                    h.      Award any further relief that the Court deems just and equitable.

                                              DEMAND FOR JURY TRIAL

                    Plaintiffs hereby request trial by jury.

                    Dated: February 5, 2020

                                                    Respectfully submitted,

                                                    /s/ Jay P. Lechner________
                                                    LECHNER LAW
                                                    Jay P. Lechner, Esq.
                                                    Florida Bar No.: 0504351
                                                    Jay P. Lechner, P.A.
                                                    Fifth Third Center

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                                               201 E. Kennedy Blvd., Suite 412
                                               Tampa, Florida 33602
                                               Telephone: (813) 842-7071
                                               jplechn@jaylechner.com
                                               shelley@jaylechner.com
                                               Attorneys for Plaintiff




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                                  IN THE THIRTEENTH JUDICIAL CIRCUIT OF THE
                              STATE OF FLORIDA, IN AND FOR HILLSBOROUGH COUNTY

     DEBRYNNA GARRETT and CLIFFORD JEURY,
     ______________________________                                       CASE NO.: _______________________
      individually and on behalf of all others similarly situated
     ______________________________                                       DIVISION: ____________
     Plaintiff/Petitioner(s)


     vs.
     FACEBOOK, INC., and COGNIZANT
     ______________________________
     BUSINESS SERVICES CORPORATION,
     ____________________________________
     Defendant/Respondent(s)

                                             REQUEST FOR DIVISION ASSIGNMENT
     This is a request based on local Administrative Order(s) for the Clerk of the Court to assign the above styled case in
     the:

     ✔ Tampa Division
           East Division

           Prior Division (Please indicate Case Number and Division of previously filed action: _______________________ )


     I understand that the actual division assignment will be in accordance with the Hillsborough County Administrative
     Orders. If there is no supported request for specific division assignment, this action will be assigned a division based
     on a random and equitable distribution system.


                       Jay P. Lechner
     Name of Attorney: _________________________________________
              201 E. Kennedy Blvd., Suite 412
     Address: _________________________________________________
     Tampa, FL 33602
     _________________________________________________________
                   (813) 842-7071
     Phone Number: ___________________________________________
                                 jplechn@jaylechner.com and shelley@jaylechner.com
     Email Address(es): ________________________________________
   Filing # 102831099 E-Filed 02/05/2020 08:35:13 PM
                             IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                                     IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                               CIRCUIT CIVIL DIVISION

          DEBRYNNA GARRETT and CLIFFORD
          JEURY, individually and on behalf of all
          others similarly situated,

                              Plaintiffs,
          v.                                                                                Case No.:
          FACEBOOK, INC., and COGNIZANT
          BUSINESS SERVICES CORPORATION,

                       Defendants.
          ______________________________________/

                                                                        SUMMONS
           THE STATE OF FLORIDA:
           To Each Sheriff of the State:

                   YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition in this
           action on:
                   COGNIZANT BUSINESS SERVICES CORPORATION
                   c/o CT Corporation System, Registered Agent
                   1200 S. Pine Island Road
                   Plantation, FL 33324

                    Each defendant is required to serve written defenses to the complaint or petition on Jay P. Lechner c/o
           Lechner Law, 201 E. Kennedy Blvd., Suite 412, Tampa, FL 33602 within 201 days after service of this
           summons on that defendant, exclusive of the day of service, and to file the original of the defenses with the
           clerk of this court either before service on plaintiff’s attorney or immediately thereafter. If a defendant fails to
           do so, a default will be entered against that defendant for the relief demanded in the complaint or petition.

           DATED this ____ day of February, 2020
                                                                                  PAT FRANK
                                                                                  As Clerk of the Court

                                                                                By: ___________________________
                                                                                 As Deputy Clerk
                                                                                 800 E. Twiggs St., Room 101, Tampa, FL
                                                                                 33602 - (813) 276-8100
          Jay P. Lechner, P.A.
          Fifth Third Center
          201 E. Kennedy Blvd., Suite 412
          Tampa, Florida 33602
          Telephone: (813) 842-7071
          jplechn@jaylechner.com
          shelley@jaylechner.com
          Attorneys for Plaintiff




           1
             Except when suit is brought pursuant to section 768.28, Florida Statutes, if the State of Florida, one of its agencies, or one of its
           officials or employees sued in his or her official capacity is a defendant, the time to be inserted as to it is 40 days. When suit is
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2/5/2020 8:35 PM Electronically Filed: Hillsborough County/13th Judicial Circuit Page 1
                                                                   IMPORTANT
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                                                                IMPORTANTE
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2/5/2020 8:35 PM Electronically Filed: Hillsborough County/13th Judicial Circuit Page 2
   Filing # 102831099 E-Filed 02/05/2020 08:35:13 PM
                             IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                                     IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                               CIRCUIT CIVIL DIVISION

          DEBRYNNA GARRETT and CLIFFORD
          JEURY, individually and on behalf of all
          others similarly situated,

                              Plaintiffs,
          v.                                                                                Case No.:
          FACEBOOK, INC., and COGNIZANT
          BUSINESS SERVICES CORPORATION,

                       Defendants.
          ______________________________________/

                                                                        SUMMONS
           THE STATE OF FLORIDA:
           To Each Sheriff of the State:

                   YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition in this
           action on:
                   FACEBOOK, INC.
                   c/o Corporation Service Company, Registered Agent
                   1201 Hays Street
                   Tallahassee, FL 32301-2525

                    Each defendant is required to serve written defenses to the complaint or petition on Jay P. Lechner
           c/o Lechner Law, 201 E. Kennedy Blvd., Suite 412, Tampa, FL 33602 within 201 days after service of this
           summons on that defendant, exclusive of the day of service, and to file the original of the defenses with the
           clerk of this court either before service on plaintiff’s attorney or immediately thereafter. If a defendant fails to
           do so, a default will be entered against that defendant for the relief demanded in the complaint or petition.

           DATED this ____ day of February, 2020
                                                                                  PAT FRANK
                                                                                  As Clerk of the Court

                                                                                By: ___________________________
                                                                                 As Deputy Clerk
                                                                                 800 E. Twiggs St., Room 101, Tampa, FL
                                                                                 33602 - (813) 276-8100
          Jay P. Lechner, P.A.
          Fifth Third Center
          201 E. Kennedy Blvd., Suite 412
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          Telephone: (813) 842-7071
          jplechn@jaylechner.com
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          Attorneys for Plaintiff




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   Filing # 102831099 E-Filed 02/05/2020 08:35:13 PM
                             IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                                     IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                               CIRCUIT CIVIL DIVISION

          DEBRYNNA GARRETT and CLIFFORD
          JEURY, individually and on behalf of all
          others similarly situated,

                              Plaintiffs,
          v.                                                                                Case No.:       20-CA-1146              DIV B
          FACEBOOK, INC., and COGNIZANT
          BUSINESS SERVICES CORPORATION,

                       Defendants.
          ______________________________________/

                                                                        SUMMONS
           THE STATE OF FLORIDA:
           To Each Sheriff of the State:

                   YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition in this
           action on:
                   COGNIZANT BUSINESS SERVICES CORPORATION
                   c/o CT Corporation System, Registered Agent
                   1200 S. Pine Island Road
                   Plantation, FL 33324

                    Each defendant is required to serve written defenses to the complaint or petition on Jay P. Lechner c/o
           Lechner Law, 201 E. Kennedy Blvd., Suite 412, Tampa, FL 33602 within 201 days after service of this
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           DATED this 10th
                      ____ day of February, 2020
                                                                                  PAT FRANK
                                                                                  As Clerk of the Court

                                                                                By: ___________________________
                                                                                 As Deputy Clerk
                                                                                 800 E. Twiggs St., Room 101, Tampa, FL
                                                                                 33602 - (813) 276-8100
          Jay P. Lechner, P.A.
          Fifth Third Center
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          Tampa, Florida 33602
          Telephone: (813) 842-7071
          jplechn@jaylechner.com
          shelley@jaylechner.com
          Attorneys for Plaintiff




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   Filing # 102831099 E-Filed 02/05/2020 08:35:13 PM
                             IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                                     IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                               CIRCUIT CIVIL DIVISION

          DEBRYNNA GARRETT and CLIFFORD
          JEURY, individually and on behalf of all
          others similarly situated,

                              Plaintiffs,
          v.                                                                                Case No.: 20-CA-1146                   DIV B
          FACEBOOK, INC., and COGNIZANT
          BUSINESS SERVICES CORPORATION,

                       Defendants.
          ______________________________________/

                                                                        SUMMONS
           THE STATE OF FLORIDA:
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                                                                                  PAT FRANK
                                                                                  As Clerk of the Court

                                                                                By: ___________________________
                                                                                 As Deputy Clerk
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2/5/2020 8:35 PM Electronically Filed: Hillsborough County/13th Judicial Circuit Page 2
Filing # 103168450 E-Filed 02/12/2020 09:46:59 AM
Filing # 103191647 E-Filed 02/12/2020 01:01:28 PM
Filing # 104774934 E-Filed 03/12/2020 12:13:21 PM


                IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                        IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                  CIRCUIT CIVIL DIVISION

        DEBRYNNA GARRETT, ALEXANDER C.
        ROBERTS, TIMOTHY DIXON, JR., KONICA
        RITCHIE, JESSICA YOUNG, LAMOND RICHARDSON,
        ANGELA CANSINO, JOHNNY OLDEN,
        KATRINA EVANS, DANIEL WALKER, TODD
        ALEXANDER, ELTON GOULD, LAMEKA
        DOTSON, NICHOLAS COLLINS, REMEAL
        EUANKS, TANIA PAUL, GABRIELLE MURRELL,
        COURTNEY NELSON, individually and on behalf
        of all others similarly situated,

                       Plaintiffs,

        v.                                                    Case No. 20-CA-001146

        FACEBOOK, INC. and COGNIZANT
        TECHNOLOGY SOLUTIONS U.S.
         CORPORATION,
                    Defendants.
        _____________________________________/


                    DEFENDANT COGNIZANT TECHONOLOGY SOLUTIONS U.S.
                    CORPORATION’S NOTICE OF FILING NOTICE OF REMOVAL

               Defendant Cognizant Technology Solutions U.S. Corporation (“Cognizant”) hereby gives

        notice that it has filed a Notice of Removal of this action to the United State District Court for the

        Middle District of Florida, Tampa Division. A true and correct copy of the Notice of Removal

        (without exhibits) that is being filed concurrently with this Notice is attached as Exhibit A.
 Dated: March 12, 2020                           Respectfully submitted,

                                                 s/ Dennis P. Waggoner
                                                 Dennis P. Waggoner (FBN 509426)
                                                 dennis.waggoner@hwhlaw.com
                                                 Joshua C. Webb (FBN 051679)
                                                 josh.webb@hwhlaw.com
                                                 Tori C. Simmons (FBN 107081)
                                                 tori.simmons@hwhlaw.com
                                                 HILL, WARD & HENDERSON, P.A.
                                                 101 East Kennedy Boulevard, Suite 3700
                                                 Tampa, FL 33602
                                                 Telephone: 813-221-3900
                                                 Facsimile: 813-221-2900

                                                 Attorneys for Defendant Cognizant
                                                 Technology Solutions U.S. Corporation




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 12, 2020, I caused the foregoing to be filed with the

Clerk of the Court, and that a copy of the foregoing was served via the Florida Courts e-Filing

Portal, which will send notice of electronic filing and service to all counsel of record in this

proceeding.

                                                s/ Dennis P. Waggoner
                                                Attorney




13755194v1
                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


DEBRYNNA GARRETT, ALEXANDER C. ROBERTS,
TIMOTHY DIXON, JR., KONICA RITCHIE,
JESSICA YOUNG, LAMOND RICHARDSON,
ANGELA CANSINO, JOHNNY OLDEN,
KATRINA EVANS, DANIEL WALKER,
TODD ALEXANDER, ELTON GOULD,
LAMEKA DOTSON, NICHOLAS COLLINS,
REMEAL EUBANKS, TANIA PAUL,
GABRIELLE MURRELL, COURTNEY NELSON,
individually and on behalf of all others similarly situated,

               Plaintiffs,

v.                                                    Case No.

FACEBOOK, INC. and COGNIZANT
TECHNOLOGY SOLUTIONS U.S.
CORPORATION,

            Defendants.
_____________________________________/

             DEFENDANT COGNIZANT TECHNOLOGY SOLUTIONS U.S.
             CORPORATION’S NOTICE OF REMOVAL OF CIVIL ACTION

       Defendant Cognizant Technology Solutions U.S. Corporation (“Cognizant”), pursuant to

28 U.S.C. §§ 1332, 1441, and 1446, hereby removes this action from the Circuit Court of the

Thirteenth Judicial Circuit in and for Hillsborough County, Florida to the United States District

Court for the Middle District of Florida, Tampa Division. Removal is proper because this Court

has subject matter jurisdiction over this putative class action pursuant to the Class Action Fairness

Act (“CAFA”). In addition, Cognizant has satisfied all procedural grounds for removal.




                                                 1
                                    EXHIBIT A
                                               Background

        1.      Plaintiffs Debrynna Garrett and Clifford Jeury filed a “Class Action Complaint and

Demand for Jury Trial” styled Debrynna Garrett and Clifford Jeudy, individually and on behalf of

all others similarly situated, v. Facebook, Inc., and Cognizant Business Services Corporation,

Case No. 20-CA-001146, in the Circuit Court of the Thirteenth Judicial Circuit in and for

Hillsborough County, Florida on February 5, 2020.

        2.      The summons and Complaint were served on Cognizant on February 11, 2020.

        3.      On March 7, 2020, Plaintiffs filed and served an Amended Class Action Complaint

and Demand for Jury Trial.

        4.      The Amended Complaint named additional Plaintiffs and expanded the class

definition. (Compl. p.1 & ¶ 91).1

        5.      Cognizant employs moderators that review Facebook content. (Compl. ¶ 19).

Content moderators remove online material that violates the terms of use for social networking

sites or applications. (Compl. ¶ 20). Plaintiffs are content moderators. (Compl. ¶ 1).

        6.      Plaintiffs have sued Cognizant based on the theory that Cognizant’s employment

of Plaintiffs as content moderators knowingly caused Plaintiffs and other class members to suffer

significant psychological trauma and PTSD. (Compl. ¶¶ 3).

        7.      Plaintiffs seek to represent a class comprised of all Florida and Arizona citizens

who performed content moderation work for Facebook within the last three years as an employee

of Cognizant. (Compl. ¶ 91.)

        8.      The Amended Complaint alleges claims for (1) intentional tort – deliberate

concealment or misrepresentation of known danger; (2) negligence – negligent exercise of retained


1
 The Amended Complaint correctly identified Cognizant as Cognizant Technology Solutions U.S. Corporation. In
addition, Clifford Jeudy was not included as a named Plaintiff in the Amended Complaint.

                                                     2
control; (3) negligence – negligent provision of unsafe equipment; and (4) Florida Deceptive and

Unfair Trade Practices Act (FDUTPA). (Compl. pp. 20, 23, 26, 29).

       9.        To remedy the claims, the Amended Complaint seeks (1) a medical monitoring

fund for the benefit of Plaintiffs and class members; (2) declaratory and injunctive relief to protect

Plaintiffs and class members from the conduct alleged in the Amended Complaint; (3) actual and

compensatory damages, including but not limited to lost pay, medical expenses, lost future earning

capacity, emotional distress and loss of enjoyment of life; (4) reasonable litigation expenses and

attorney’s fees (under FDUTPA and otherwise). (Compl. Prayer for Relief, p. 31-32).

                        Jurisdiction under the Class Action Fairness Act

       10.       This Court has jurisdiction over this action under 28 U.S.C. § 1332(d) because (1)

there are 100 or more members in Plaintiffs’ proposed class; (2) there is minimal diversity of

citizenship; and (3) the claims of the proposed class members exceed the sum or value of

$5,000,000 in the aggregate. See Dudley v. Eli Lilly & Co., 778 F.3d 909, 911-12 (11th Cir. 2014).

A. The Proposed Class Exceeds 100 Members.

       11.       In the Amended Complaint, Plaintiffs allege that the number of class members is

in the thousands. (Compl. ¶ 93.).

       12.       Based on Plaintiffs’ allegations, Cognizant states that the putative class proposed

by Plaintiffs includes 3,042 persons. (See Declaration of Melissa Koehler, attached as Exhibit A).

       13.       The proposed class easily exceeds the 100 members required under 28 U.S.C. §

1332(d)(5)(B).

B. The Minimal Diversity Requirement is Satisfied.

       14.       The class members are citizens of the States of Florida and Arizona. (Compl. ¶ 91)




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          15.   Cognizant is a publicly traded corporation incorporated under the laws of Delaware,

with its headquarters located at 211 Quality Circle College Station, TX 77845.

          16.   Facebook is a publicly traded corporation incorporated under the laws of Delaware,

with its headquarters located at 1601 Willow Road, Menlo Park, California, 94025. (Compl. ¶ 18).

          17.   Because Cognizant and Facebook are citizens of states other than Florida and

Arizona, minimal diversity exists. 28 U.S.C. 1332(d)(2)(A).

C. The Amount in Controversy Requirement is Satisfied.

          18.   CAFA confers federal subject matter jurisdiction over qualifying class actions

where the “matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest and

costs.” 28 U.S.C. § 1332(d)(2). The claims of the individual class members are aggregated to

determine whether the amount in controversy exceeds $5,000,000. See id.

          19.   The Amended Complaint does not assign a dollar amount to the relief sought by

Plaintiffs and the putative class members, but the Complaint includes requests for damages and

medical monitoring. (Compl. ¶¶ 111, 129, 144, 150, 152, 153).

          20.   The Supreme Court has held that a notice of removal “need only include a plausible

allegation that the amount in controversy exceeds the jurisdictional threshold” and “need not

contain evidentiary submissions.” Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 89

(2014).

          21.   In addition to reviewing the available evidence, this Court may make “reasonable

deductions, reasonable inferences, or other reasonable extrapolations” to determine whether the

amount in controversy has been met. Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 754 (11th

Cir. 2010). The amount in controversy requirement may be satisfied when it is “facially apparent”

from the complaint, “even ‘when the complaint does not claim a specific amount of damages.’”



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Roe v. Michelin North America, Inc., 613 F.3d 1058, 1061 (11th Cir. 2010) (quoting Pretka v.

Kolter City Plaza II, Inc., 608 F.3d 744, 754 (11th Cir. 2010) (applying CAFA)).

       22.     The Amended Complaint alleges that the class members suffered PTSD and other

psychological disorders, physical injuries including stroke and epilepsy, lost pay, lost future

earning capacity, emotional distress and loss of enjoyment of life. (Compl. ¶ 150).

       23.     Plaintiffs also allege that employees sustained severe physical injuries, such as a

heart attack, while on the job. (Compl. ¶ 75).

       24.     While Cognizant will show that Plaintiffs should take nothing on their alleged

claims, based on the factual allegations in the Amended Complaint, the amount in controversy

exceeds $5,000,000 in the aggregate, exclusive of interest and costs, as required under 28 U.S.C.

§ 1332(d)(2). Compensating 3,042 class members for the alleged damages from physiological

disorders, physical injuries, lost pay, and lost future earnings would certainly exceed $5,000,000.

With 3,042 putative class members, damages as low as $1,625 per class member exceeds the

$5,000,000 requirement for CAFA jurisdiction.

       25.     In addition to claiming these damages, Plaintiffs seek medical monitoring for the

class members. The cost of medical monitoring can likewise be included in examining the amount

in controversy for removal under CAFA. Jovine v. Abbott Labs., Inc., 2011 WL 1337204, at *5

(S.D. Fla. Apr. 7, 2011), see also DeHart v. BP Am., 2010 WL 231744, at *9 (W.D. La. Jan. 14,

2010) (finding CAFA amount in controversy satisfied where a class of 118 potential plaintiffs

sought damages for severe and possibly disabling physical, mental and emotional injuries

associated with alleged exposure to airborne radiation exposure, including damages for diagnostic

studies and future medical monitoring).




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       26.     Here, the medical monitoring requested by Plaintiffs includes (1) baseline

screening, assessments, and diagnostic examinations to assist in diagnosing adverse health effects,

(2) secondary interventions to reduce the risks of PTSD, (3) tertiary interventions to reduce

symptoms of those suffering from PTSD, and (4) evidence based treatments to help individuals

recovery. (Compl. ¶¶ 108, 109, 126, 127, 141, 142).

       27.     Screening for PTSD or other traumatic brain injuries requires the initial cost of an

evaluation for each patient. Treatment for PTSD can run in the thousands of dollars per patient.

In February 2012, the Congressional Budget Office evaluated the cost of treating veterans for

PTSD and other traumatic brain injuries. The average cost of treating PTSD per patient for one

year was $8,300. The average cost of treating traumatic brain injuries for one year was $11,700.

Subsequent years ranged from ($3,800 a year to $11,100 a year). (See Congressional Budget Office

Report, attached as Exhibit B).

       28.     Given that the gravamen of Plaintiffs’ Amended Complaint is that Cognizant

created a working environment causing PTSD and traumatic brain injuries to the putative class of

3,042 persons, it is self-evident that there is at least $5,000,000.00 at issue based on the allegations

of the Amended Complaint. (Compl. ¶ 3, “As a result of constant and unmitigated exposure to

highly toxic and extremely disturbing images through Facebook’s content review systems,

Plaintiffs and other class members developed and suffer from significant psychological trauma

and/or post-traumatic stress disorder (PTSD)”).

       29.     Moreover, Plaintiffs’ Motion for Class Certification states that “all Plaintiffs and

other class members developed and suffer from significant psychological trauma, including PTSD,

as a result of their constant and unmitigated exposure”. (See Plaintiffs’ Motion for Class

Certification at p. 6, attached as Exhibit C).



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        30.    Even making the conservative assumption that each putative class member only has

to be treated for PTSD (rather than the higher cost of treating a traumatic brain injury), the cost of

treatment for one year alone for the entire class of 3042 Plaintiffs would exceed the $5,000,000

jurisdictional requirement.

        31.    The costs associated with screening for and treating PTSD and traumatic brain

injuries, coupled with actual damages alleged, exceeds CAFA’s $5,000,000 requirement.

        32.    Plaintiffs also have sought attorney’s fees and court costs under Florida Statute §

501.2105 for Deceptive and Unfair Trade Practices.

        33.    Where attorney’s fees are allowed by statute, a court can consider attorney’s fees

in determining the amount in controversy. Cohen v. Office Depot, Inc., 204 F.3d 1069, 1079-80

(11th Cir. 2000), Lee-Bolton v. Koppers Inc., 848 F. Supp. 2d 1342, 1356 (N.D. Fla. 2011).

        34.     Considering the complex nature of this action and the number of individuals

involved, Plaintiffs’ requested attorney’s fees could easily exceed $250,000 and potentially

approach $1 million by the time of trial.

        35.    The inclusion of attorney’s fees further supports that the amount in controversy is

in excess of $5,000,000, demonstrating that CAFA’s amount in controversy requirement is

satisfied.

        36.    Based on the litany of injuries and related requests for relief alleged in the Amended

Complaint, using its judicial experience and common sense, the Court should find it is facially

apparent from the Amended Complaint that Plaintiffs’ alleged claims, which include allegations

of damages from physiological disorders, physical injuries, lost pay, and lost future earnings,

requests for medical monitoring to address PTSD and traumatic brain injuries, as well as a request




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for substantial attorney’s fees, involve an amount in controversy that exceeds CAFA’s

jurisdictional threshold.


                                      Procedural Compliance

        37.     This Notice of Removal is timely because Cognizant filed its Notice of Removal

within 30 days of receipt of a copy of the Complaint on February 11, 2020. 28 U.S.C. § 1446(b).

        38.     Removal to the Tampa Division of this Court is proper because this action was

originally filed in the state court in Hillsborough, Florida. 28 U.S.C. §§ 1441(a); M.D. Fla. L.R.

1.02(b)(4).

        39.     As required by 28 U.S.C. § 1446(a) and Local Rule 4.02(b), true and correct copies

of all of the process, pleadings, orders and papers on file with the state court in this action are being

filed with this Notice of Removal.

        40.     Pursuant to 28 U.S.C. § 1446(d), notice of this Notice of Removal is being provided

to Plaintiff and the state court clerk contemporaneously with the filing of this Notice of Removal

with this Court.

        41.     By this Notice of Removal, Cognizant does not waive any objection it may have as

to service, jurisdiction, or any other defenses or objections it may have to this action. Cognizant

intends no admission of fact, law, or liability by this Notice of Removal, and expressly reserves

all defenses, motions and/or pleas.

                                           CONCLUSION

        Defendant Cognizant Technology Services U.S. Corporation hereby removes this action

from the Circuit Court of the Thirteenth Judicial Circuit in and for Hillsborough County, Florida

to this Court. Removal to this Court is appropriate because the Court has subject matter jurisdiction

in this action in accordance with the provisions of CAFA.


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 Dated: March 12, 2020                              Respectfully submitted,

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                                                    Attorneys for Defendant Cognizant
                                                    Technology Solutions U.S. Corporation



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 12, 2020, I caused the foregoing to be filed with the

Clerk of the Court, and that a copy of the foregoing is being furnished by U.S. Mail and e-mail to

counsel for Plaintiffs Jay P. Lechner, jplechn@jaylechner.com, shelley@jaylechner.com , Lechner

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